Case 1:22-cv-02068-STV Document 1-1 Filed 08/15/22 USDC Colorado Page 1 of 46
                                            EXHIBIT A



  DISTRICT COURT, COUNTY OF ARAPAHOE, STATE OF
  COLORADO
  Court Address: 7325 S. Potomac Street
                 Centennial, CO 80112
  Telephone:     303-645-6600

  Plaintiff:

   Kristina Meyer

  v.
                                                                       ▲ COURT USE ONLY ▲
  Defendant:

  BioMedGPS, LLC d/b/a SmartTRAK


  Attorneys for Plaintiffs:
                                                                       Case Number:
  Michael Freimann, Atty. Reg. No. 35430
  Kathleen F. Guilfoyle, Atty. Reg. No. 55284
  ARMSTRONG TEASDALE LLP                                               Div.:
  4643 South Ulster Street, Suite 800
  Denver, Colorado 80237
  Phone Number: 720-200-0676
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  E-mail: mfreimann@atllp.com
  kguilfoyle@atllp.com
          DISTRICT COURT (CV) CASE COVER SHEET FOR INITIAL PLEADING
                OF COMPLAINT, COUNTERCLAIM, CROSS-CLAIM OR
                           THIRD PARTY COMPLAINT

 1.      This cover sheet shall be filed with the initial pleading of a complaint, counterclaim,
 cross-claim or third party complaint in every district court civil (CV) case. It shall not be
 filed in Domestic Relations (DR), Probate (PR), Water (CW), Juvenile (JA, JR, JD, JV),
 or Mental Health (MH) cases. Failure to file this cover sheet is not a jurisdictional defect
 in the pleading but may result on a clerk’s show cause order requiring its filing.

 2.       Simplified Procedure under C.R.C.P. 16.1 applies to this case unless (check on box
 if this party asserts that C.R.C.P. 16.1 does not apply):

        This is a class action, forcible entry and detainer, Rule 106, Rule 120, or other similar
         expedited proceeding, or

        This party is seeking a monetary judgment against another party for more than
         $100,000.00, including any penalties or punitive damages, but excluding attorney fees,
         interest and costs, as supported by the following certification:
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            By my signature below and in compliance with C.R.C.P. 11, based upon information
            reasonably available to me at this time, I certify that the value of this party’s claims
            against one of the other parties is reasonably believed to exceed $100,000.”

    Or

     Another party has previously filed a cover sheet stating that C.R.C.P. 16.1 does not apply
    to this case.

 3.  This party makes a Jury Demand at this time and pays the requisite fee. See C.R.C.P. 38.
    (Checking this box is optional.)


 Dated: July 29, 2022

                                                           Respectfully submitted,




                                                           By: /s/ Michael A. Freimann
                                                               Michael Freimann, Atty. Reg. No.
                                                               35430
                                                               Kathleen F. Guilfoyle, Atty. Reg.
                                                               No. 55284
                                                               Armstrong Teasdale LLP
                                                               4643 South Ulster Street, Suite 800
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                                                               mfreimann@atllp.com
                                                               kguilfoyle@atllp.com

 NOTICE
 This cover sheet must be served on all other parties along with the initial pleading of a
 complaint, counterclaim, cross-claim, or third party complaint.
Case 1:22-cv-02068-STV Document 1-1 Filed 08/15/22 USDC Colorado Page 3 of 46
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DISTRICT COURT, ARAPAHOE COUNTY,
STATE OF COLORADO
7325 South Potomac Street                                     DATE FILED: July 29, 2022 3:19 PM
Centennial, Colorado 80112                                    CASE NUMBER: 2022CV31421

Plaintiff(s): Kristina Meyer

v.                                                              ▲ COURT USE ONLY ▲

Defendant(s): BioMedGPS, LLC
                                                              Case Number: 22CV31421
                                                              Div. 202


                              DELAY REDUCTION ORDER
                      (FOR CASES FILED ON OR AFTER JULY 1, 2015)


 This Court is on a delay reduction docket.

     A. For all civil actions, the following deadlines must be met:

          1.     Service of Process: Returns of service on all defendants shall be filed
                 within 63 days after the date of the filing of the complaint.

          2.     Default Judgment: Application for default judgment shall be filed within
                 35 days after default has occurred.

          3.     Case Management:        Whether a Case Management Conference is
                 required is determined by each Division.

          4.     Trial Setting: Parties shall comply with the procedure for setting trial as
                 determined by the Judge presiding over the Division to which the case has
                 been assigned.

                 a.     Actions governed by C.R.C.P. 16 shall be set for trial within 49
                        days of the “at issue” date and generally trial will be set within 1
                        year of the date the Complaint was filed unless the Court
                        determines that the nature of the case requires a later setting.

                 b.     Actions governed by C.R.C.P. 16.1 shall be set for trial within 42
                        days of the “at issue” date and generally trial will be set within 6
                        months of the date the Complaint was filed unless the Court
                        determines that the nature of the case requires a later setting.

     B.   A District Court Civil Cover Sheet (JDF 601) shall be filed with all civil complaints.
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  C.   Plaintiff shall send a copy of this Order to all other parties who enter an
       appearance and shall file a certificate of mailing within 14 days following the
       entry of appearance.

  D.   Any attorney entering an appearance in this case who is aware of a related case
       is ordered to complete and file in this case a document entitled “Information
       Regarding Case(s)” informing the Court of the related case(s) and stating
       whether consolidation is appropriate.

  E.   If an attorney or self-represented party failed to comply with the Order, the Court
       may dismiss the case without prejudice.

 Date: 7/29/2022


                                                       BY THE COURT:
                                                       ASSIGNED JUDGE




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                                                    EXHIBIT A



 DISTRICT COURT, ARAPAHOE COUNTY, COLORADO
 Court Address:
 7325 S POTOMAC ST, CENTENNIAL, CO, 80112
                                                                               DATE FILED: July 29, 2022 3:39 PM
 Plaintiff(s) KRISTINA MEYER                                                   CASE NUMBER: 2022CV31421
 v.
 Defendant(s) BIOMEDGPS LLC



                                                                                                 COURT USE ONLY
                                                                                      Case Number: 2022CV31421
                                                                                      Division: 202     Courtroom:

                     Order:Order Denying Plaintiff's Motion for Temporary Restraining Order

 The motion/proposed order attached hereto: DENIED.

 Plaintiff is seeking a restraining order to "enjoin" her former employer from "threatening legal action." This request does not
 state a "real" or imminent threat to plaintiff that would warrant an immediate ex parte order. Plaintiff has filed a complaint for
 declaratory relief to generally determine the validity and/or effect of "Confidentiality/Non-Disclosure Agreement" with her
 former employer. While there may be valid grounds to seek judicial interpretation of the contract, the Employer/Defendant
 has not failed any action against Plaintiff or sought any legal restraint on her employment or activities. At best, it appears that
 the parties have had discussions about the legal meaning or impact of the subject agreement. This is insufficient to support a
 TRO.

 Issue Date: 7/29/2022




 ELIZABETH BEEBE VOLZ
 District Court Judge




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  DISTRICT COURT, COUNTY OF ARAPAHOE, STATE OF
  COLORADO
  Court Address: 7325 S. Potomac Street
                 Centennial, CO 80112
  Telephone:     303-645-6600




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  Plaintiff:




                                                                                31
   Kristina Meyer

  v.




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                                                                     ▲ COURT USE ONLY ▲




                                                                    2C
  Defendant:

  BioMedGPS, LLC d/b/a SmartTRAK




                                                              02
                                                        -2
  Attorneys for Plaintiffs:
                                                                    Case Number:
  Michael Freimann, Atty. Reg. No. 35430
  Kathleen F. Guilfoyle, Atty. Reg. No. 55284
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           PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER
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               ch




        Pursuant to C.R.C.P. 65(b), Plaintiff Kristina Meyer (“Plaintiff” or “Ms. Meyer”) moves
        tta




 for a temporary restraining order in the form attached. The grounds for this Motion are set forth
    A




 in Plaintiff’s Memorandum of Law in Support of Motions for Temporary Restraining Order and

 Preliminary Injunction, which is being filed contemporaneously with this Motion.

        The undersigned counsel certifies that Ms. Meyer notified Defendants of her intent to

 seek immediate injunctive relief on July 29, 2022, by communicating via telephone to

 Defendant’s counsel, as well as sending the Verified Complaint, Motions for Temporary

 Restraining Order and Preliminary Injunction, Memorandum of Law in Support of those
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 motions, and related Proposed Orders by email. Counsel will coordinate with Defendants for the

 earliest possible hearing on the temporary restraining order if the Court determines one is

 necessary. As described in the Verified Complaint, Plaintiff seeks immediate injunctive relief to




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 protect herself from the irreparable harm that may be done to her livelihood if Defendants are not




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 restrained or enjoined from threatening legal action against Ms. Meyer and allowing her to




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 perform her job without any encumbrances.




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                                                                     2C
        Granting a temporary restraining order will permit Ms. Meyer a modest amount of time

 to conduct limited discovery to further support its Motion for a Preliminary Injunction.




                                                               02
        WHEREFORE, Plaintiff Kristina Meyer respectfully requests this Court enter a



                                                        -2
 Temporary Restraining Order in the form attached hereto and set a hearing to consider and grant
                                                 er
 a preliminary injunction.
                                            rd

   Dated: July 29, 2022                           Respectfully submitted,
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                                   o
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                                                  /s/ Michael A. Freimann
                         en




                                                  Michael A. Freimann, Atty. Reg. No. 35430
                                                  Kathleen F. Guilfoyle, Atty. Reg. No. 55284
                    m




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                                                  Attorneys for Plaintiff
                                                  Kristina Meyer




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  DISTRICT COURT, COUNTY OF ARAPAHOE, STATE OF
  COLORADO
  Court Address: 7325 S. Potomac Street
                 Centennial, CO 80112
  Telephone:     303-645-6600

  Plaintiff:

   Kristina Meyer

  v.
                                                                   ▲ COURT USE ONLY ▲
  Defendant:

  BioMedGPS, LLC d/b/a SmartTRAK


  Attorneys for Plaintiffs:
                                                                   Case Number:
  Michael Freimann, Atty. Reg. No. 35430
  Kathleen F. Guilfoyle, Atty. Reg. No. 55284
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  kguilfoyle@atllp.com

       PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF MOTIONS FOR
       TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

        Pursuant to C.R.C.P. 65(a) and (b), Plaintiff Kristina Meyer (“Plaintiff” or “Meyer”)

 submits the following memorandum of law in support of its Motion for Temporary Restraining

 Order and Motion for Preliminary Injunction. For the reasons set forth below, Meyer respectfully

 requests the Court grant the relief sought in her Motions.
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                                        INTRODUCTION

        Until recently, Meyer was the Chief Commercial Officer at Defendant BioMedGPS d/b/a

 SmartTRAK (“BioMedGPS” or “Defendant”).             After approximately two years of enduring

 BioMedGPS’ untenable work environment, Meyer gave her two-weeks’ resignation notice on June

 13, 2022.    Shortly thereafter, Meyer joined AcuityMD.         Significantly, AcuityMD sells a

 complimentary product to BioMedGPS and is not a competitor.

        Since Meyer’s departure from BioMedGPS, Defendant has threatened myriad of legal

 actions against Meyer that have impeded Meyer’s ability to perform the duties of her new role

 with AcuityMD, including preventing Meyer from attending a trade conference. At its core,

 Defendant believes Meyer breached a Confidentiality/Non-Disclosure Agreement by downloading

 a Master Sales Tracker document (“MST”) and by returning her company laptop with the

 manufacturer default settings. It also demanded that for a period of one year, Meyer not attend any

 industry conferences or contact any of her former BioMedGPS customers.

        BioMedGPS insisted that Meyer provide it with an affidavit attesting that she had not

 provided any BioMedGPS confidential or proprietary information to her new employer,

 AcuityMD. Meyer agreed to provide this affidavit. BioMedGPS also demanded access to Meyer’s

 personal laptop so that a third-party forensics expert could examine it and make “ghost image” of

 the laptop. BioMedGPS has refused to agree to any restrictions or parameters on this intrusive

 search. Despite Meyer’s assurances that she has not violated any confidentiality obligations,

 BioMedGPS continues to threaten legal action and has recently involved Meyer’s new employer,

 AcuityMD, by demanding that it too provide an affidavit.

        Based on BioMedGPS’s insistence that Meyer has breached agreements and that she may

 not legally engage in her new employment without encumbrances, Meyer seeks declaratory



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 judgment from this Court, as detailed in her Complaint, that Meyer has not breached any agreement

 between the Parties, that Meyer is not required to turn over her personal laptop to BioMedGPS,

 that there is not a valid or enforceable non-compete or non-solicitation of customers agreement

 between the Parties, and that Meyer may fully engage in her new employment with limitations,

 including by attending and participating in any trade conference and engaging her former

 customers, as well as further declarations that the Court may find necessary.

        Meyer also seeks immediate injunctive relief. Meyer does not pursue this action lightly.

 But the current and on-going encumbrances that BioMedGPS is attempting to place on Meyer’s

 ability to perform her job, in addition to the heavy weight of the threat of litigation hanging over

 Meyer’s head, have brought Meyer to seek remedies from this Court. Without immediate

 injunctive relief from this Court, Defendant will only continue its campaign to prevent Meyer from

 earning a living and to punish her for the efforts she took to resolve the work environment problems

 at BioMedGPS during her employment and making the difficult decision to leave the toxicity and

 seek a livelihood elsewhere. Additionally, the customers which Meyer is seeking to present her

 new employer’s services and products make their business and budgetary decisions for 2023 within

 the next month or two. If BioMedGPS continues to threaten whom Meyer can or cannot meet

 with, Meyer will be irreparably harmed.

                                    STATEMENT OF FACTS

 A.     The Parties

        Meyer is an individual residing in Arapahoe County, Colorado. (Verified Compl. ¶ 12.)

 BioMedGPS is a limited liability company formed in the State of California with its principal

 place of business in Irvine, California. (Id. ¶ 13.) BioMedGPS is in the life sciences industry




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 and provides online business intelligence and decision-making tools for life sciences product

 management professionals.

 B.     Meyer’s Employment by BioMedGPS

        In March 2015, Meyer began working for BioMedGPS as an independent contractor in the

 role of Lead Analyst, Sports Medicine. (Id. ¶ 17.) In September 2018, Meyer officially joined

 BioMedGPS in the dual role of Lead Analyst, Sports Medicine and Director of Sales. (Id. ¶ 18.)

 In January 2020, Meyer was promoted to VP of Sales. (Id. ¶ 19.) In January 2021, Meyer was

 again promoted, this time to Chief Commercial Officer. (Id. ¶ 20.) As part of their working

 relationship, the Parties have executed several written contracts. (Id. ¶ 21.) These include a

 Confidentiality and Non-Disclosure Agreement, attached to Plaintiff’s Complaint as Exhibit A.

 (Id. ¶ 22.) The Parties have not executed any written non-compete or non-solicitation of customers

 agreements. (Id. ¶ 23.)

 C.     Meyer’s Resignation

        Beginning around mid-2020, Meyer noticed a significant shift in BioMedGPS’s culture

 and environment. (Id. ¶ 24.) Specifically, Sharon O’Reilly, CEO of BioMedGPS, became highly

 critical and demanding, creating an extremely stressful environment where workers were degraded

 and ignored. (Id. ¶ 25.) Meyer acted as a buffer between O’Reilly and many employees struggling

 under the stress created by O’Reilly. (Id. ¶ 26.) Meyer was often contacted by these employees

 to discuss their frustrations. (Id.) These reports concerned Meyer deeply. Meyer also was

 concerned by instances of nepotism and sexism on display from O’Reilly. O’Reilly hired her

 brother, Ray Luzi, as a VP at the start of 2022, without alerting the CFO of BioMedGPS that Luzi

 had never held a VP role or similar position and without conducting an external search to fill the

 role with a more qualified candidate. (Id. ¶ 28.) Luzi was unqualified to hold his position and had



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 a negative effect on employee morale. (Id. ¶ 29.) O’Reilly also repeatedly commented that “she

 should hire a young, pretty girl to hand out gift cards to CEOs to get their attention” and also talked

 often about how she hired attractive women and told people that the attractive women employed

 by BioMedGPS were her “Charlie’s Angels.”             (Id. ¶ 30.)    In short, O’Reilly created an

 uncomfortable, harsh, unfair, and frustrating work environment that caused many workers to leave

 the company. (Id. ¶ 32.)

         Meyer made many attempts to resolve the work environment problems. These efforts

 included speaking with co-workers to troubleshoot the issues. Meyer also directly spoke to

 O’Reilly about these concerns, hoping that such discussion would lead to a resolution. (Id. ¶ 31.)

 It did not. (Id. ¶ 33.)

         As a result, Meyer made the decision to resign from BioMedGPS. (Id. ¶ 34.) Meyer

 received and accepted an offer to join AcuityMD, a company that sells complementary products

 to BioMedGPS’s products. BioMedGPS and AcuityMD are not direct competitors. (Id. ¶ 35.) On

 June 13, 2022, Meyer gave two-weeks’ notice to O’Reilly, and asked what steps she could take to

 help facilitate the transition. O’Reilly did not give Meyer any specific direction in response, but

 vaguely told Meyer “to do what [Meyer] thought was right.” (Id. ¶ 36.) Meyer believed that the

 right thing included assisting her team’s transition. To that end, Meyer downloaded the MST

 document containing project and sales information. Meyer’s intent was to use the document to

 help prepare her team for her departure by reassigning open accounts, adjusting quotas, assessing

 outstanding commissions and planning proper and professional account handoffs. Meyer, along

 with Geoffrey Brown, GM of Sales Operations, routinely used this document for sales tracking

 and territory planning. (Id. ¶ 37.) The document is, in fact, sent via email with the weekly sales

 call notes and routinely used by the sales team as a whole. (Id. ¶ 38.) Having given her two-



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 weeks’ notice that day, Meyer assumed she was still under BioMedGPS’s employ and would have

 the next two weeks to help facilitate the transition.

        Later on June 13, BioMedGPS shut off Meyer’s access to the internal network, and notified

 Meyer that it did not want her assistance to transition her work and was ending her employment

 with BioMedGPS that same day. (Id. ¶ 39.) Meyer was told by Don Urbanowicz, BioMedGPS’s

 former COO, via a telephone call that her employment was terminated as of 5:00 p.m. MDT on

 June 13th, and that someone would come to her home to pick up her laptop and that she would be

 hearing from BioMedGPS lawyers. No other direction or advice was offered regarding the proper

 method of returning her company laptop. (Id. ¶ 40.) Meyer knew that others had returned company

 laptops with the manufacturer default settings, including three director-level employees. Meyer

 has since again verified this fact with those three departed employees. As a member of the

 executive team, Meyer had never heard a complaint about the laptops returned in this state. (Id. ¶

 41.) Believing this to be the proper procedure, Meyer wiped her company laptop and returned the

 laptop with the manufacturer default settings. Meyer did not individually delete any files or emails

 from the laptop. She believed any emails or other documents needed by BioMedGPS were

 available to BioMedGPS through its internal network, and she had no intent to hide any activity,

 documents, or other information from BioMedGPS. (Id. ¶ 42.)

 D.     BioMedGPS’s Treatment of Meyer After She Resigned

        Shortly after her employment with BioMedGPS ended, Meyer began her employment with

 AcuityMD. (Id. ¶ 43.) This role requires that Meyer use her expertise in the field, including

 attending trade conferences as an AcuityMD representative and engaging her contacts she created

 and maintained over the course of her career.




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        A few days after June 13, 2022, Meyer heard from BioMedGPS’s lawyers. (Id. ¶ 44.)

 BioMedGPS’ counsel sent a separation agreement letter outlining the commissions and expense

 report amount owed to Meyer, but also stating that they would strictly enforce her “non-compete”

 and requested a waiver from Meyer of any claims against them. (Id. ¶ 45.) BioMedGPS’s own

 CFO, Marie May, warned Meyer against signing the document, believing the intention behind the

 document was to obtain a waiver through promising payment of owed commissions only upon

 signature. (Id. ¶ 46.)

        On June 27, 2022, Meyer again heard from BioMedGPS’s lawyer, this time accusing

 Meyer of breaching her obligations under the Confidentiality/Non-Disclosure Agreement. (Id. ¶

 47.) The June 27 letter incorrectly states that Meyer downloaded the MST document after she was

 informed that her access to BioMedGPS’s internal network would be shut off and that she had

 never before downloaded the MST. (Id. ¶ 48.) Further, the June 27 letter accuses Meyer of

 downloading the document with the intent to retain and use any confidential information in the

 MST document in her new employment with AcuityMD. (Id. ¶ 49.) The letter also accuses Meyer

 of intentionally destroying company proprietary data in resetting her company laptop to its

 manufacturer default settings in violation of her obligations under the Confidentiality/Non-

 Disclosure Agreement and “applicable law.” (Id. ¶ 50.)

        In the June 27 letter, BioMedGPS made several demands, including that Meyer (1) return

 any BioMedGPS proprietary information, (2) destroy any copies of proprietary information stored

 on electronics, and (3) sign a statement that Meyer is in compliance with her duties of

 confidentiality and non-disclosure and that she has not shared any proprietary information with

 any third party. (Id. ¶ 51.) Without citing a contractual provision for its basis, BioMedGPS also




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 demanded that that for a period of one year, Meyer will not attend any industry conferences or

 contact any of her former BioMedGPS customers. (Id. ¶ 52.)

        Indeed, on July 13, 2022, BioMedGPS threatened injunctive legal action if Meyer were to

 attend a trade conference in Colorado Springs scheduled to begin the next day. As a result, Meyer

 voluntarily did not attend the trade conference. (Id. ¶ 53.) A large portion of attendees at the July

 14-15 conference were Meyer’s contacts prior to joining BioMedGPS. By insisting Meyer not

 attend, BioMedGPS effectively cost Meyer the opportunity to perform the duties of her new role

 with AcuityMD and potentially engage customers who would be interested in AcuityMD’s

 services and products. (Id. ¶ 54.)

        BioMedGPS has since made further demands, including that Meyer (1) provide

 BioMedGPS with any emails Meyer sent to AcuityMD from her personal email account while

 employed by BioMedGPS, (2) allow BioMedGPS to take a “ghost image” of her personal laptop,

 and (3) provide an affidavit that Meyer has not given AcuityMD any BioMedGPS confidential or

 proprietary information. (Id. ¶ 55.) BioMedGPS is also seeking an affidavit from AcuityMD

 swearing the same. (Id. ¶ 56.)

        Meyer has destroyed the sole copy of the MST document in her possession and does not

 have other BioMedGPS confidential or proprietary information (although Meyer does not concede

 that this information was either). (Id. ¶ 57.) Meyer agreed to provide an affidavit attesting she has

 not violated and has no intention of violating the Confidentiality/Non-Disclosure Agreement, that

 the sole copy of the MST document in her possession was destroyed, and that she has not provided

 any confidential or proprietary information to AcuityMD. (Id. ¶ 58.) These assurances are

 apparently not enough for BioMedGPS, as it continues to insist that Meyer hand over her personal




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 laptop for a ghost image to be created and inspect any emails she has sent to her current employer

 AcuityMD. (Id. ¶ 59.)

        Meyer cannot agree to provide her personal laptop, which contains private and confidential

 financial, medical, and other information BioMedGPS has no right to examine. (Id. ¶ 60.) It is

 not clear why BioMedGPS needs to examine Meyer’s computer if they are also requesting that she

 submit a sworn affidavit. (Id. ¶ 61.) Meyer wants to commence her new job but is concerned that

 any action she takes will result in BioMedGPS falsely claiming she violated an agreement and

 attempting to obtain injunctive relief. (Id. ¶ 62.) Meyer has tried to amicably resolve this dispute

 with BioMedGPS but its list of demand continues to grow and become more and more

 unreasonable. BioMedGPS has now directly involved AcuityMD. (Id. ¶ 63.) For example,

 BioMedGPS’s latest attempt to intimidate Meyer into not pursuing gainful employment with

 AcuityMD and handing over a personal laptop includes threatening to sue Meyer for trade secret

 misappropriation and violations of the Computer Fraud and Abuse Act. (Id. ¶ 64.) Meyer believes

 these tactics are in retaliation for her voicing concerns of O’Reilly’s leadership and related decision

 to leave the company.

 E.     Irreparable Harm of BioMedGPS’ Conduct

        Defendant’s actions have caused and will continue to cause irreparable harm to Meyer. As

 detailed above, BioMedGPS has already once succeeded in preventing Meyer from attending an

 important trade conference. Without immediate injunctive relief enjoining BioMedGPS from

 trying to enforce made up legal violations and placing restrictions on what Meyer can or cannot

 do, there will be imminent, irreparable harm. Most obviously, Meyer could lose her job. Meyer

 could also be forced to forfeit her ability to bring AcuityMD new customers. And, significantly,

 many customers are currently setting their 2023 budgets. If Meyer is unable to perform her job



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 duties, even for a short period of time pending resolution of a preliminary injunction, she risks

 losing these customers’ business for over a year, which could have an impact on her financial

 status as well as her ability to maintain her employment.

                                           ARGUMENT

 I.      PLAINTIFF IS ENTITLED TO A TEMPORARY RESTRAINING ORDER AND
         A PRELIMINARY INJUNCTION

         To obtain a temporary restraining order or a preliminary injunction, Meyer must show: (1)

 a reasonable probability of success on the merits; (2) a danger of real, immediate, and irreparable

 injury that may be prevented by injunctive relief; (3) the lack of a plain, speedy, and adequate

 remedy at law; (4) no disservice to the public interest; (5) the balance of equities in favor of the

 injunction; and (6) the preservation, by the injunction, of the status quo pending a trial on the

 merits. Rathke v. MacFarlane, 648 P.2d 648, 653-54 (Colo. 1982); see also Kourlis v. Dist. Ct.,

 El Paso Cnty., 930 P.2d 1329, 1335 (Colo. 1997). Moreover, a temporary restraining order is

 particularly appropriate when immediate and irreparable injury, loss, or damage will result before

 the defendants can be heard in opposition. C.R.C.P. 65(b). As set forth below, all of the elements

 necessary for the issuance of a temporary restraining order and a preliminary injunction are

 satisfied in this case.

 A.      There Is More Than A Reasonable Probability That Plaintiff Will Prevail On The
         Merits Of Her Declaratory Judgment Act Claim.

         Meyer will ultimately prevail on her request for declaratory judgment. As detailed in her

 Complaint, Meyer has not breached any agreement or violated any law. Additionally, Meyer has

 never shared any of BioMedGPS’ alleged confidential or proprietary information. And, although

 Meyer agreed to attest to this, BioMedGPS chose to ignore it and instead opted to continue with

 its harassment and bullying.



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        Colorado’s Uniform Declaratory Judgment Act provides, in its pertinent part:

        Any person interested under a deed, will, written contract, or other writings
        constituting a contract or whose rights, status, or other legal relations are affected
        by a statute, municipal ordinance, contract, or franchise may have determined any
        question of construction or validity arising under the instrument, statute, ordinance,
        contract, or franchise and obtain a declaration of rights, status, or other legal
        relations thereunder.

 Colo. Rev. Stat. § 13-51-106. A declaratory judgment action is appropriate when the rights

 asserted by the plaintiff are present and cognizable. Lot Thirty–Four Venture, L.L.C. v. Town of

 Telluride, 976 P.2d 303, 307 (Colo. App. 1998). A court should issue a declaratory judgment only

 where it would terminate the uncertainty or controversy giving rise to the proceeding. See C.R.S.

 § 13–51–110; C.R.C.P. 57(f). Thus, In Colorado, a party to a contract may seek declaratory

 judgment to determine unclear rights and/or obligations. See Berenergy Corp. v. Zab, Inc., 94 P.3d

 1232, 1235 (Colo. Ct. App. 2004). A party may also seek declaratory judgment to determine

 whether a valid contractual obligation exists or does not exist. See id. at 1236 (“Although § 13–

 51–106 and C.R.C.P. 57(b) detail situations in which declaratory judgment actions may be

 brought, they do not restrict the court's ability to grant declaratory relief in other situations when

 appropriate.”).

        Meyer’s rights are present and cognizable. (Verified Compl. ¶¶ 70–72.) A declaratory

 judgment from this Court will fully and finally resolve this controversy. (Id. ¶ 73.) Meyer has a

 reasonable probability of success on the merits.

 B.     Plaintiff Faces Irreparable Harm Absent Immediate Injunctive Relief.

        “‘Irreparable harm’ is a pliant term adaptable to the unique circumstances that an individual

 case might present.” Gitlitz v. Bellock, 171 P.3d 1274, 1278–79 (Colo. App. 2007). “Generally,

 irreparable harm has been defined as ‘certain and imminent harm for which a monetary award does

 not adequately compensate.’” Id. at 1279 (quoting Wisdom Import Sales Co., L.L.C. v. Labatt

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 Brewing Co., Ltd., 339 F.3d 101, 113 (2nd Cir. 2003)). An injury may be irreparable . . . where

 monetary damages are difficult to ascertain or where there exists no certain pecuniary standard for

 the measurement of the damages.” Id.

        Here, Defendant’s conduct has and will continue to irreparably harm Meyer. Again,

 BioMedGPS has already once succeeded in preventing Meyer from attending an important trade

 conference. This cost Meyer the opportunity to work current contacts and gain customers for

 AcuityMD. Without immediate injunctive relief enjoining BioMedGPS from trying to enforce

 made up legal violations and placing restrictions on what Meyer can or cannot do, Meyer could

 lose her job. Meyer will also be forced to continue to forfeit her ability to bring AcuityMD new

 customers.

        And, significantly, the timing of this injunctive relief is critical. Within the next month,

 Meyer’s current customers are setting their budgets for 2023. If Meyer is not given the opportunity

 to meet with them and attempt to sell them on AcuityMD’s product and services, she will not be

 able to sell anything until the customers are considering their subsequent years’ budgets.

 BioMedGPS has continually threatened legal action against Meyer if she speaks with any of her

 old customers, which creates a fragile position and decision for Meyer: Does she pursue her

 customer base and risk facing an injunction or hold back on meeting with these potential customers

 and risk losing sales opportunities and potentially her job? Meyer should not be subjected to such

 a Hobson’s choice.

 C.     Injunctive Relief Is Appropriate And No Adequate Remedy At Law Exists.

        Meyer has no plain, speedy, or adequate remedy at law. Indeed, Meyer is not at this time

 seeking monetary damages from BioMedGPS. She only wants to secure her ability to pursue




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 gainful employment. Injunctive relief is necessary at this stage for the reasons identified above

 regarding her ability to secure business right now, which bears on whether she will retain her job.

 D.     Granting the Requested Relief Does No Disservice To The Public Interest.

        Granting the requested relief will also not disserve the public interest. Rather, it will

 serve deep policy goals of this state: Colorado has a strong public policy favoring individuals’

 freedom to pursue gainful employment without being subjected to restrictive covenants. See

 C.R.S. § 8-2-113. Also, the public interest is not disserved by preventing an individual from

 being continuously threatened despite her sworn statements that she has not violated any

 obligations to Defendant.

 E.     The Balance Of The Equities Favors An Injunction.

        If Meyer’s requests for a temporary restraining order and preliminary injunction are denied,

 she will have no method for protecting her right to fully engage in her new role at AcuityMD

 without constant, unfounded threats from BioMedGPS. BioMedGPS should not be allowed to

 “sideline” Meyer without any valid non-compete or non-solicitation of customers agreement.

        Defendant, on the other hand, are not unduly harmed by an injunction. The injunction will

 only prevent BioMedGPS from continuing to engage in harassing and bullying behavior, that is

 not warranted under the facts.

        Thus, the harm Meyer has suffered or will suffer without injunctive relief substantially

 outweighs any reason for denying Meyer a temporary restraining order and preliminary injunction.

 F.     An Injunction Will Preserve the Status Quo Pending Trial On The Merits.

        Finally, temporary restraining orders and preliminary injunctions are designed to preserve

 the status quo or to protect a party’s rights pending the final determination of a cause. Keller Corp.

 v. Kelley, 187 P.3d 1133, 1137 (Colo. App. 2008). The status quo is not maintained if irreparable



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 harm will occur absent an injunction. Id. As set forth above, without immediate and meaningful

 injunctive relief, Meyer will suffer irreparable harm. In that event, the status quo will not be

 maintained. Thus, an injunction is proper.

 II.    THE COURT SHOULD REQUIRE ONLY A PRO FORMA BOND

        The Court should require only a pro forma bond and should decide this issue at the hearing.

 See Old Republic Nat. Title Ins. Co. v. Kornegay, 292 P.3d 1111, 1118 (Colo. App. 2012) (noting

 in “context of a procedural rule mandating a bond upon issuance of a preliminary injunction, courts

 have recognized that the bond amount may be set at zero if there is no evidence that the enjoined

 party will be unable to collect damages in the event of a wrongful injunction”). Defendant faces

 no serious burden in complying with the injunction. Thus, a pro forma bond is appropriate.

                                         CONCLUSION

        For the reasons set forth above, Meyer’s Motions should be granted and a temporary

 restraining order and preliminary injunction should be entered.



   Dated: July 29, 2022                           Respectfully submitted,




                                                  /s/ Michael A. Freimann
                                                  Michael A. Freimann, Atty. Reg. No. 35430
                                                  Kathleen F. Guilfoyle, Atty. Reg. No. 55284
                                                  ARMSTRONG TEASDALE LLP
                                                  4643 South Ulster Street, Suite 800
                                                  Denver, Colorado 80237
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                                                  kguilfoyle@atllp.com

                                                  Attorneys for Plaintiff
                                                  Kristina Meyer


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  DISTRICT COURT, COUNTY OF ARAPAHOE, STATE OF
  COLORADO
  Court Address: 7325 S. Potomac Street
                 Centennial, CO 80112
  Telephone:     303-645-6600

  Plaintiff:

   Kristina Meyer

  v.
                                                                    ▲ COURT USE ONLY ▲
  Defendant:

  BioMedGPS, LLC d/b/a SmartTRAK


  Attorneys for Plaintiffs:
                                                                   Case Number:
  Michael Freimann, Atty. Reg. No. 35430
  Kathleen F. Guilfoyle, Atty. Reg. No. 55284
  ARMSTRONG TEASDALE LLP                                           Div.:
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  Phone Number: 720-200-0676
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  E-mail: mfreimann@atllp.com
  kguilfoyle@atllp.com

                           DECLARATION OF KRISTINA MEYER


        I, Kristina Meyer, hereby declare as follows:

        1.      Until June 13, 2022, I was employed by BioMedGPS.

        2.     I submit this declaration in support of Plaintiff’s Motions for a Temporary
 Restraining Order and a Preliminary Injunction.

         3.     Since my departure from BioMedGPS, BioMedGPS has accused me of violating
 my obligations under the Confidentiality/Non-Disclosure Agreement. In connection with these
 accusations, BioMedGPS has demanded that I return any BioMedGPS proprietary information,
 destroy any copies of proprietary information stored on electronics, sign a statement that I am in
 compliance with my duties of confidentiality and non-disclosure and that I have not shared any
 proprietary information with any third party, provide BioMedGPS with any emails I sent to
 AcuityMD from my personal email account while employed by BioMedGPS, allow BioMedGPS
 to take a “ghost image” of my personal laptop, and provide an affidavit that I have not given
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 AcuityMD any of BioMedGPS’ confidential or proprietary information.

         4.      I have offered to provide BioMedGPS an affidavit that states I am not in possession
 of any of its confidential or proprietary information, I have destroyed the one copy of the document
 they were concerned about, and I have never shared any of its proprietary or confidential
 information with my new employer, AcuityMD.

         5.      I do not believe I have violated any agreement that I signed with BioMedGPS nor
 do I plan to violate any agreement in the future.

        6.      BioMedGPS has also demanded that for a period of one year, I not attend any
 industry conferences or contact any of my former customers. It refused or was unable to provide
 any legal authority to support this request.

         7.     Legal action initiated by BioMedGPS against me would greatly interfere with my
 ability to meet my current job’s expectations and would result in me suffering a significant,
 professional hardship.

        8.      On July 13, 2022, counsel for BioMedGPS communicated to my counsel that
 BioMedGPS would pursue legal action against me personally if I attended a trade conference
 scheduled for the next two days.

         9.      As a gesture of good faith, and in an attempt to resolve their dispute, I voluntarily
 elected to not attend the trade conference.

         10.   As a result, I forfeited the first opportunity I had to generate new customers for my
 current employer AcuityMD.

         11.  I want to be able to perform my new job with AcuityMD without looking over my
 shoulder and wondering if BioMedGPS is going to commence a legal action and threaten my
 livelihood.

         12.     BioMedGPS has threatened litigation numerous times and continues to threaten
 imminent legal action regarding its claim that I violated confidentiality and/or other unknown
 agreements and laws, despite my assurances that I have not. By way of example, BioMedGPS’
 latest claim is that I somehow violated the Computer Fraud and Abuse Act. It is unclear how I
 committed such a violation.

      13.   Despite my best efforts, I have not been able to resolve this matter with
 BioMedGPS.

         14.   I believe that should I attend a trade conference, BioMedGPS will further retaliate
 against me and initiate litigation.

         15.     If BioMedGPS is not enjoined from interfering with my employment, I will suffer
 imminent, irreparable harm. Most obviously, I could lose my job. I will also be forced to forfeit
 my ability to bring AcuityMD new customers. Significantly, many customers are currently setting
 their 2023 budgets. If I am unable to perform my job duties, even for a short period of time, I risk
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  DISTRICT COURT, COUNTY OF ARAPAHOE, STATE OF
  COLORADO
  Court Address: 7325 S. Potomac Street
                 Centennial, CO 80112
  Telephone:     303-645-6600

  Plaintiff:

   Kristina Meyer

  v.
                                                                     ▲ COURT USE ONLY ▲
  Defendant:

  BioMedGPS, LLC d/b/a SmartTRAK


  Attorneys for Plaintiffs:
                                                                    Case Number:
  Michael Freimann, Atty. Reg. No. 35430
  Kathleen F. Guilfoyle, Atty. Reg. No. 55284
  ARMSTRONG TEASDALE LLP                                            Div.:
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  Denver, Colorado 80237
  Phone Number: 720-200-0676
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  E-mail: mfreimann@atllp.com
  kguilfoyle@atllp.com

           PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER


        Pursuant to C.R.C.P. 65(b), Plaintiff Kristina Meyer (“Plaintiff” or “Ms. Meyer”) moves

 for a temporary restraining order in the form attached. The grounds for this Motion are set forth

 in Plaintiff’s Memorandum of Law in Support of Motions for Temporary Restraining Order and

 Preliminary Injunction, which is being filed contemporaneously with this Motion.

        The undersigned counsel certifies that Ms. Meyer notified Defendants of her intent to

 seek immediate injunctive relief on July 29, 2022, by communicating via telephone to

 Defendant’s counsel, as well as sending the Verified Complaint, Motions for Temporary

 Restraining Order and Preliminary Injunction, Memorandum of Law in Support of those
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 motions, and related Proposed Orders by email. Counsel will coordinate with Defendants for the

 earliest possible hearing on the temporary restraining order if the Court determines one is

 necessary. As described in the Verified Complaint, Plaintiff seeks immediate injunctive relief to

 protect herself from the irreparable harm that may be done to her livelihood if Defendants are not

 restrained or enjoined from threatening legal action against Ms. Meyer and allowing her to

 perform her job without any encumbrances.

        Granting a temporary restraining order will permit Ms. Meyer a modest amount of time

 to conduct limited discovery to further support its Motion for a Preliminary Injunction.

        WHEREFORE, Plaintiff Kristina Meyer respectfully requests this Court enter a

 Temporary Restraining Order in the form attached hereto and set a hearing to consider and grant

 a preliminary injunction.

   Dated: July 29, 2022                           Respectfully submitted,




                                                  /s/ Michael A. Freimann
                                                  Michael A. Freimann, Atty. Reg. No. 35430
                                                  Kathleen F. Guilfoyle, Atty. Reg. No. 55284
                                                  ARMSTRONG TEASDALE LLP
                                                  4643 South Ulster Street, Suite 800
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                                                  Attorneys for Plaintiff
                                                  Kristina Meyer




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  DISTRICT COURT, COUNTY OF ARAPAHOE, STATE OF
  COLORADO
  Court Address: 7325 S. Potomac Street
                 Centennial, CO 80112
  Telephone:     303-645-6600

  Plaintiff:

   Kristina Meyer

  v.
                                                                   ▲ COURT USE ONLY ▲
  Defendant:

  BioMedGPS, LLC d/b/a SmartTRAK


  Attorneys for Plaintiffs:
                                                                   Case Number:
  Michael Freimann, Atty. Reg. No. 35430
  Kathleen F. Guilfoyle, Atty. Reg. No. 55284
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  Phone Number: 720-200-0676
  Fax Number: 720-200-0679
  E-mail: mfreimann@atllp.com
  kguilfoyle@atllp.com

                            DISTRICT COURT CIVIL SUMMONS


 TO THE ABOVE NAMED DEFENDANT:

        BioMedGPS, LLC d/b/a SmartTRAK
        c/o Agent Marie May
        2913 El Camino Real #434
        Tustin, CA 92782

        YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court an
 answer or other response to the attached Complaint. If service of the Summons and Complaint
 was made upon you within the State of Colorado, you are required to file your answer or other
 response within 21 days after such service upon you. If service of the Summons and Complaint
 was made upon you outside of the State of Colorado, you are required to file your answer or other
 response within 35 days after such service upon you. Your answer or counterclaim must be
 accompanied with the applicable filing fee.
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        If you fail to file your answer or other response to the Complaint in writing within the
 applicable time period, the Court may enter judgment by default against you for the relief
 demanded in the Complaint without further notice.

 Dated: July 29, 2022

                                                            Respectfully submitted,




                                                            By: /s/ Michael A. Freimann
                                                                Michael Freimann, Atty. Reg. No.
                                                                35430
                                                                Kathleen F. Guilfoyle, Atty. Reg.
                                                                No. 55284
                                                                Armstrong Teasdale LLP
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                                                                Denver, Colorado 80237
                                                                Telephone: 720.200.0676
                                                                Facsimile: 720.200.0679
                                                                mfreimann@atllp.com
                                                                kguilfoyle@atllp.com

 This Summons is issued pursuant to Rule 4, C.R.C.P., as amended. A copy of the Complaint
 must be served with this Summons. This form should not be used where service by
 publication is desired.

 WARNING: A valid summons may be issued by a lawyer and it need not contain a court
 case number, the signature of a court officer, or a court seal. The plaintiff has 14 days from
 the date this summons was served on you to file the case with the court. You are
 responsible for contacting the court to find out whether the case has been filed and obtain
 the case number. If the plaintiff files the case within this time, then you must respond as
 explained in this summons. If the plaintiff files more than 14 days after the date the
 summons was served on you, the case may be dismissed upon motion and you may be
 entitled to seek attorney’s fees from the plaintiff.

 TO THE CLERK: If the summons is issued by the clerk of the court, the signature block
 for the clerk or deputy should be provided by stamp, or typewriter, in the space to the left
 of the attorney’s name.
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  DISTRICT COURT, COUNTY OF ARAPAHOE, STATE OF
  COLORADO
  Court Address: 7325 S. Potomac Street
                 Centennial, CO 80112
  Telephone:     303-645-6600

  Plaintiff:

   Kristina Meyer

  v.
                                                                         ▲ COURT USE ONLY ▲
  Defendant:

  BioMedGPS, LLC d/b/a SmartTRAK


  Attorneys for Plaintiffs:
                                                                         Case Number:
  Michael Freimann, Atty. Reg. No. 35430
  Kathleen F. Guilfoyle, Atty. Reg. No. 55284
  ARMSTRONG TEASDALE LLP                                                 Div.:
  4643 South Ulster Street, Suite 800
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  kguilfoyle@atllp.com

                                       VERIFIED COMPLAINT


         Plaintiff Kristina Meyer (“Meyer” or “Plaintiff”), through undersigned counsel, brings
 the following Verified Complaint against BioMedGPS d/b/a SmartTRAK (“BioMedGPS” or
 “Defendant”), and allege the following:

                                           INTRODUCTION

       1. This is an action for declaratory judgment. Meyer is not seeking any monetary damages
          against Defendant at this time. Her sole request is to be able to work at her new employer,
          AcuityMD, and help provide for her family. BioMedGPS’ actions and threats are making
          that impossible.

       2. Since Meyer’s departure from BioMedGPS, Defendant has threatened a myriad of legal
          actions, based on a multitude of alleged violations and breaches. None of these averments
          are true and are due to a nonsensical, yet creative, narrative that Defendant is trying to tell.
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    3. At its core, Defendant believes Meyer breached a Confidentiality/Non-Disclosure
       Agreement by downloading a Master Sales Tracker document (“MST”) and by returning
       her company laptop with the manufacturer default settings.

    4. BioMedGPS insisted that Meyer provide it with an affidavit attesting that she had not
       provided any BioMedGPS confidential or proprietary information to her new employer,
       AcuityMD. BioMedGPS also demanded access to Meyer’s personal laptop so that a third-
       party forensics expert could examine it and make a “ghost image” of the laptop, allowing
       BioMedGPS to search the entire personal laptop. BioMedGPS refused to provide any
       restrictions or limitations on this intrusive search.

    5. BioMedGPS has also demanded that for a period of one year, Meyer will not attend any
       industry conferences or contact any of her former BioMedGPS customers. It refused or
       was unable to provide any legal authority to support this request.

    6. Indeed, on July 13, 2022, BioMedGPS threatened injunctive legal action if Meyer attended
       a trade conference in Colorado Springs scheduled for the next two days. Although there
       were no legal grounds for this request, as a gesture of good faith and in an attempt to resolve
       their dispute, Meyer voluntarily elected to not attend the trade conference.

    7. Meyer has started a new job and wants to be able to perform this job without looking over
       her shoulder and wondering if BioMedGPS is going to commence a legal action and
       threaten her livelihood.

    8. BioMedGPS has threatened litigation numerous times and continues to threaten imminent
       legal action regarding its claim that Meyer violated confidentiality and/or other unknown
       agreements and laws. By way of example, BioMedGPS’ latest claim is that Meyer
       somehow violated the Computer Fraud and Abuse Act. It is unclear how Meyer committed
       such a violation.

    9. Despite Meyer’s best efforts, she has not been able to resolve this matter with BioMedGPS.

    10. Based on BioMedGPS’ insistence that Meyer has breached agreements and that she may
        not legally engage in her new employment without encumbrances, Meyer seeks declaratory
        judgment from the Court that Meyer has not breached any agreement between the Parties,
        that Meyer is not required to turn over her personal laptop to BioMedGPS, that there is not
        a valid or enforceable non-compete or non-solicitation agreement between the Parties, and
        that Meyer may fully engage in her new employment without limitations, including by
        attending and participating in any trade conference and engaging her former customers, as
        well as further declarations that the Court may find necessary.

    11. Meyer’s inability to fully perform her duties in her new employment irreparably harms
        Meyer’s ability to earn a livelihood. Thus, Meyer also respectfully requests this Court
        preliminarily and permanently enjoin and restrain BioMedGPS from interfering with her
        current employment or otherwise threatening her livelihood during the pendency of this
        action and permanently thereafter, as more fully outlined in the concurrently filed Motion
        for Temporary Restraining Order.



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                                            PARTIES

    12. Plaintiff Kristina Meyer is an individual residing in the County of Arapahoe, State of
        Colorado.

    13. BioMedGPS, LLC is a limited liability company formed in the State of California with its
        principal place of business in Irvine, California.

                                         JURISDICTION

    14. This Court has subject matter jurisdiction over this action pursuant to Article VI, section 9
        of the Colorado Constitution, which provides that the district courts shall have original
        jurisdiction in all civil cases, and C.R.C.P. 57(a) granting district courts jurisdiction to
        declare rights, status, and other legal relations.

    15. Pursuant to C.R.S. § 13-1-124(1), this Court has personal jurisdiction over Defendant
        because Defendant has transacted business within the state of Colorado in connection with
        the claims alleged in this Verified Complaint.

    16. Venue is proper in this Court, pursuant to C.R.C.P. 98, because the Defendant is a
        nonresident of Colorado and transacted business in Arapahoe County as identified in this
        Verified Complaint.

                                  GENERAL ALLEGATIONS

    17. In March 2015, Meyer began working for BioMedGPS as an independent contractor in the
        role of Lead Analyst, Sports Medicine.

    18. In September 2018, Meyer officially joined BioMedGPS in the dual role of Lead Analyst,
        Sports Medicine and Director of Sales.

    19. In January 2020, Meyer was promoted to VP of Sales.

    20. In January 2021, Meyer was again promoted, this time to Chief Commercial Officer.

                                A. Contracts between the Parties

    21. The Parties have executed several written contracts.

    22. These include a Confidentiality and Non-Disclosure Agreement, attached to this Verified
        Complaint as Exhibit A.

    23. Meyer has not entered into any non-compete or non-solicitation of customers agreements.

                           B. Meyer’s Decision to Leave BioMedGPS

    24. Beginning around mid-2020, Meyer noticed a significant shift in BioMedGPS’ culture and
        environment.



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    25. Specifically, Sharon O’Reilly, CEO of BioMedGPS, became highly critical and
        demanding, creating an extremely stressful environment where workers were degraded and
        ignored.

    26. Other employees also struggled under the stress created by O’Reilly, and communicated
        their frustrations directly to Meyer, who acted as a “buffer” for these employees.

    27. Other issues include nepotism and sexism.

    28. O’Reilly hired her brother, Ray Luzi, as a VP at the start of 2022, without alerting the CFO
        of BioMedGPS that Luzi had never held a VP role or similar position and without
        conducting an external search to fill the role with a more qualified candidate.

    29. Luzi was unqualified to hold his position and had a negative effect on employee morale.

    30. O’Reilly also repeatedly commented that “she should hire a young, pretty girl to hand out
        gift cards to CEOs to get their attention” and also talked often about how she hired
        attractive women and told people that the attractive women employed by BioMedGPS were
        her “Charlie’s Angels.”

    31. Meyer made several attempts to speak with co-workers and O’Reilly herself to resolve the
        work environment problems.

    32. In short, O’Reilly created an uncomfortable, harsh, unfair, and frustrating work
        environment that caused many workers to leave the company.

                           C. Meyer’s Departure from BioMedGPS

    33. Meyer’s attempts to resolve the work environment problems experienced by her and others
        at BioMedGPS yielded no results.

    34. As a result, Meyer made the decision to resign from BioMedGPS.

    35. Meyer received and accepted an offer to join AcuityMD, a company that sells
        complementary products to BioMedGPS’ products. BioMedGPS and AcuityMD are not
        direct competitors.

    36. On June 13, 2022, Meyer gave two-weeks’ notice to O’Reilly, and asked what steps she
        could take to help facilitate the transition. During an eight minute telephone call, O’Reilly
        did not give Meyer any specific direction in response. O’Reilly vaguely told Meyer “to do
        what [Meyer] thought was right.”

    37. Meyer downloaded the MST document containing project and sales information. Meyer’s
        intent was to use the document to help prepare her team for her departure by reassigning
        open accounts, adjusting quotas, assessing outstanding commissions and planning proper
        and professional account handoffs, assuming she had two weeks to help facilitate such a
        transition. Meyer, along with Geoffrey Brown, GM of Sales Operations, routinely used this
        document for sales tracking and territory planning.


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    38. The current versions of the MST document are sent via email with the weekly sales call
        notes and routinely used by the sales team, including by Meyer during her employment.

    39. Later on June 13, BioMedGPS shut off Meyer’s access to the internal network, and notified
        Meyer that it did not want her assistance to transition her work and was ending her
        employment with BioMedGPS that same day.

    40. Meyer was only told by Don Urbanowicz, BioMedGPS’ former COO, via telephone call
        that her employment was terminated as of 5pmMT on June 13th, that someone would come
        to her home to pick up her laptop and that she would be hearing from BioMedGPS lawyers
        as O’Reilly believed Meyer was going to a competitor. No other direction or advice was
        offered regarding the proper method of returning her company laptop.

    41. Meyer knew that others had returned company laptops with the manufacturer default
        settings, including three director-level employees. As a member of the executive team,
        Meyer had never heard a complaint about the laptops returned in this state.

    42. Believing this to be the proper procedure, Meyer wiped her company laptop and returned
        the laptop with the manufacturer default settings. Meyer did not individually delete any
        files or emails from the laptop. She believed any emails or other documents needed by
        BioMedGPS were available to BioMedGPS through its internal network, and had no intent
        to hide any activity, documents, or other information from BioMedGPS.

                   D. BioMedGPS’ Treatment of Meyer Post-Employment

    43. Shortly after her employment with BioMedGPS ended, Meyer began her employment with
        AcuityMD.

    44. A few days after June 13, 2022, Meyer heard from BioMedGPS’ lawyers.

    45. Counsel had sent a separation agreement letter outlining the commissions and expense
        report amount owed to Meyer, but also stating that they would strictly enforce her “non-
        compete” and requested a waiver from Meyer of any claims against them.

    46. BioMedGPS’ own CFO, Marie May, warned Meyer against signing the document,
        believing the intention behind the document was to obtain a waiver through promising
        payment of owed commissions only upon signature.

    47. On June 27, 2022, Meyer again heard from BioMedGPS’ lawyer, this time accusing Meyer
        of breaching her obligations under the Confidentiality/Non-Disclosure Agreement.

    48. The June 27 letter incorrectly stated that Meyer downloaded the MST document after she
        was informed that her access to BioMedGPS’ internal network would be shut off and that
        she had never before downloaded the MST.

    49. The June 27 letter accuses Meyer of downloading the document with the intent to retain
        and use any confidential information in the MST document in her new employment with
        AcuityMD.


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    50. The letter also accuses Meyer of intentionally destroying company proprietary data in
        resetting her company laptop to its manufacturer default settings in violation of her
        obligations under the Confidentiality/Non-Disclosure Agreement and “applicable law.”

    51. BioMedGPS made several demands, including that Meyer (1) return any BioMedGPS
        proprietary information, (2) destroy any copies of proprietary information stored on
        electronics, and (3) sign a statement that Meyer is in compliance with her duties of
        confidentiality and non-disclosure and that she has not shared any proprietary information
        with any third party.

    52. Without citing a contractual provision for its basis, BioMedGPS has also demanded that
        that for a period of one year, Meyer will not attend any industry conferences or contact any
        of her former BioMedGPS customers.

    53. Indeed, on July 13, 2022, BioMedGPS threatened injunctive legal action if Meyer were to
        attend a trade conference in Colorado Springs scheduled the next day. As a result, Meyer
        voluntarily did not attend the trade conference.

    54. A large portion of attendees at the July 14-15 conference were Meyer’s contacts prior to
        joining BioMedGPS. By insisting Meyer not attend, BioMedGPS effectively cost Meyer
        the opportunity to perform the duties of her new role with AcuityMD.

    55. BioMedGPS has since made further demands, including that Meyer (1) provide
        BioMedGPS with any emails Meyer sent to AcuityMD from her personal email account
        while employed by BioMedGPS, (2) allow BioMedGPS to take a “ghost image” of her
        personal laptop, and (3) provide an affidavit that Meyer has not given AcuityMD any
        BioMedGPS confidential or proprietary information.

    56. BioMedGPS is also seeking an affidavit from AcuityMD swearing the same.

    57. Meyer has destroyed the sole copy of the MST document in her possession and does not
        have other BioMedGPS information.

    58. Meyer agreed to provide an affidavit attesting she has not violated and has no intention of
        violating the Confidentiality/Non-Disclosure Agreement, that the sole copy of the MST
        document in her possession was destroyed, and that she has not provided any confidential
        or proprietary information to AcuityMD.

    59. These assurances are apparently not enough for BioMedGPS, which insists that Meyer
        hand over her personal laptop for a ghost image to be created and inspect any emails she
        has sent to her current employer AcuityMD.

    60. Meyer cannot agree to provide her personal laptop, which contains private and confidential
        financial, medical, and other information BioMedGPS has no right to examine.

    61. It is not clear why BioMedGPS needs to examine Meyer’s computer if they are also
        requesting that she submit a sworn affidavit.



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    62. Meyer wants to commence her new job but is concerned that any action she takes will
        result in BioMedGPS falsely claiming she violated an agreement and attempting to obtain
        injunctive relief.

    63. Meyer has tried to amicably resolve this dispute with BioMedGPS but its list of demands
        continues to grow and become more and more unreasonable. BioMedGPS has now directly
        involved AcuityMD.

    64. BioMedGPS’ latest attempt to intimidate Meyer into not pursuing gainful employment
        with AcuityMD and handing over a personal laptop includes threatening to sue Meyer in
        federal court for trade secret misappropriation and violations of the CFAA.

                                           COUNT I:
                                     Declaratory Judgment
                            (C.R.S. § 13-51-106 and C.R.C.P. 57(b))

    65. Plaintiff re-alleges by reference all the aforementioned Paragraphs as though fully set forth
        herein.

    66. Colorado’s Uniform Declaratory Judgment Act provides, in its pertinent part, that

       Any person interested under a deed, will, written contract, or other writings
       constituting a contract or whose rights, status, or other legal relations are affected
       by a statute, municipal ordinance, contract, or franchise may have determined any
       question of construction or validity arising under the instrument, statute, ordinance,
       contract, or franchise and obtain a declaration of rights, status, or other legal
       relations thereunder.

       C.R.S. § 13-51-106.

    67. In Colorado, a party to a contract may seek declaratory judgment to determine unclear
        rights and/or obligations. A party may also seek declaratory judgment to determine whether
        a valid contractual obligation exists or does not exist.

    68. There is a presently existing controversy: BioMedGPS insists that Meyer has breached
        confidentiality obligations, and Meyer maintains that she has not. BioMedGPS
        continuously threatens litigation to intimidate Meyer into not attending trade conferences
        and restricting with which customers she can meet.

    69. This controversy is preventing Meyer from fully participating in her new position with
        AcuityMD. If it continues—and it appears it will—Meyer may run the risk of losing her
        new job.

    70. Meyer’s rights to pursue gainful employment is a legally protected interest heavily valued
        by the State of Colorado.

    71. These rights have already been affected, and Meyer has been injured, by BioMedGPS’
        threats as she did not attend a trade conference for fear of further retaliation.


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    72. Thus, the rights at issue are present and cognizable.

    73. A declaratory judgment by this Court will fully and finally resolve the uncertainty and
        controversy as to all parties with a substantial interest who could be affected by the
        judgment.

    74. Thus, Plaintiffs seek a judgment from this Court declaring:

             a. that Meyer has not breached any agreement between the Parties,

             b. that Meyer is not required to turn over her personal laptop to BioMedGPS,

             c. that there is not a valid or enforceable non-compete or non-solicitation of customers
                agreement between the Parties,

             d. and that Meyer may fully engage in her new employment without restrictions,
                including by attending and participating in any trade conference and engaging her
                former customers, as well as further declarations that the Court may find necessary.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that judgment be entered in her favor and
 that this Court:

        A.      Grant declaratory relief as outlined in Paragraph 74 of this Verified Complaint;

        B.      Award costs and attorney fees as the Court may deem equitable and just; and

       C.       Award Plaintiff any other relief reasonably resulting from the Defendant’s
 conduct that the Court deems just and equitable under the circumstances.




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   Dated: July 29, 2022                Respectfully submitted,




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  DISTRICT COURT, COUNTY OF ARAPAHOE, STATE OF
  COLORADO
  Court Address: 7325 S. Potomac Street
                 Centennial, CO 80112
  Telephone:     303-645-6600

  Plaintiff:

   Kristina Meyer

  v.
                                                                   ▲ COURT USE ONLY ▲
  Defendant:

  BioMedGPS, LLC d/b/a SmartTRAK


  Attorneys for Plaintiffs:
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           ACKNOWLEDGMENT, WAIVER AND ACCEPTANCE OF SERVICE


         I, Ramon Rhymes, as attorney for BioMedGPS, LLC d/b/a SmartTRAK, hereby
 acknowledge receipt and accept service of the on its behalf of the following: (1) District Court
 Civil Summons; (2) Verified Complaint; (3) District Court Civil (CV) Case Cover Sheet for
 Complaint; (4) Motion for Preliminary Injunction; (4) Motion for Temporary Restraining Order;
 (5) proposed Order for Preliminary Injunction; (6) proposed Temporary Restraining Order; (7)
 Memorandum of Law in Support of Temporary Restraining Order and Preliminary Injunction;
 (8) Declaration of Kristina Meyer in the above-mentioned matter. I further state that I am over
 the age of eighteen years and am authorized to accept service of process and to execute this
 Acknowledgment, Waiver and Acceptance of Service.

 Date:   August 4, 2022

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